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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


   UNITED STATES OF AMERICA

   v.                                               Case No. 3:21-cr-19-MMH-PDB

   SAMUEL CHRISTOPHER TEMPLEMAN



                         ACCEPTANCE OF PLEA OF GUILTY,
                          ADJUDICATION OF GUILT, AND
                             NOTICE OF SENTENCING

         The Court adopts the Report and Recommendation Concerning Guilty Plea

   (Dkt. No. 60) entered by the Honorable Patricia D. Barksdale, United States

   Magistrate Judge, to which the fourteen day objection period was waived. Thus, the

   Court accepts Defendant’s plea of guilty to Count One of the Indictment, and

   Defendant is adjudged guilty of such offense.

         SENTENCING for the Defendant is hereby scheduled for Friday, October

   29, 2021, at 2:00 p.m. before the undersigned in the United States Courthouse,

   Courtroom No. 10B, Tenth Floor, 300 North Hogan Street, Jacksonville, Florida

   32202. The Court notifies any defendant currently on pretrial release that

   pursuant to 18 U.S.C. § 3143(a)(2), the Court is required to remand a

   defendant into custody at sentencing in drug cases and cases involving

   crimes of violence.    However, notwithstanding this provision, pursuant to

   18 U.S.C. § 3145(c), the Court may allow an otherwise qualified defendant to

   voluntarily surrender for “exceptional reasons.”
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         IF THE PARTIES WANT THE COURT TO CONSIDER ANY MOTION FOR

   DEPARTURE OR OTHER WRITTEN MATERIAL OTHER THAN THE PRE-

   SENTENCE INVESTIGATION REPORT, IT MUST BE SUBMITTED NO LATER

   THAN THREE (3) BUSINESS DAYS PRIOR TO THE DATE OF SENTENCING. IN

   ADDITION, IF ANY PARTY BELIEVES THAT THE SENTENCING MAY TAKE

   LONGER THAN ONE HOUR, PLEASE NOTIFY THE UNDERSIGNED’S

   CHAMBERS IMMEDIATELY.

         NOTE:       All persons entering the Courthouse must present photo

   identification to Court Security Officers.        Although cell phones, laptop

   computers, and similar electronic devices generally are not permitted in the

   building, attorneys may bring those items with them upon presentation to

   Court Security Officers of a Florida Bar card (presentation of the Duval

   County Courthouse lawyer identification card will suffice) or Order of

   special admission pro hac vice.1

         DONE AND ORDERED in Jacksonville, Florida this 20th day of July, 2021.




   1     Cell phones must be turned off while in the courtroom.




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   Copies to:

   Asst. U.S. Attorney (Taylor)
   Maurice Grant, Esquire
   United States Marshals Service
   United States Probation Office
   United States Pretrial Services




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